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                                                  March 27,2017

   VIA CMIECF and EMAIL (MDD JMCChambers@mdd.uscourts.gov)

   The Honorable J. Mark Coulson
   Magistrate Judge
   United States District Court for the District of Maryland
   101 West Lombard Street
   Baltimore, Maryland 21201

           Re:       Nero, et al v. Mosby, et al.; Case No.: 1:16-cv-01288-MJG

   Dear Judge Coulson:

           This letter is being submitted on behalf of all of the Plaintiffs in this consolidated
   case.

           Your Honor's February 3, 2017 Order (Dkt. 56) instructed the Parties to submit a
   "joint discovery plan that will be submitted to me for approval." On February 10,2017,
   the Parties filed a proposed Discovery Plan for consideration by the Court. (Dkt. 68).
   The proposed Discovery Plan contemplated a "Phase I - Paper Discovery" under which
   the "Parties have 90 days from the date this Plan is approved by the Court to exchange
   interrogatories, request for production of documents, and answers thereto." (Dkt. 68 at 2).

          On February 6, 2017, Defendant Marilyn Mosby filed a Motion for Immediate
   Stay Pending Appeal (Dkt. 60). Defendant Mosby's motion to stay was denied by the
   Honorable Marvin J. Garbis on March 20,2017. (Dkt. 82).

           In light of Judge Garbis' order denying the motion to stay, the Plaintiffs believe
   that consideration of the February 10,2017 proposed Discovery Plan is appropriate.

           Thank you for your consideration of this letter.

                                                       Sincerely,

                                                             /s/

                                                       Joseph T. Mallon, Jr.
   cc: All Counsel of Record.



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